Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 1 of 7
Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 2 of 7
Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 3 of 7
Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 4 of 7
Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 5 of 7
Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 6 of 7
Case 14-23859   Doc 1   Filed 06/27/14   Entered 06/27/14 11:04:27   Desc Main
                           Document      Page 7 of 7
